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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                           MIAMI DIVISION

                                   CASE NO.: 17-CV-22583-RNS

 MILLY MUNOZ, as personal representative
 of the Estate of Javier Munoz, deceased,
 on behalf of the Estate and MILLY MUNOZ,
 as surviving daughter

        Plaintiffs,
 vs.

 CITY OF MIAMI, a municipality

       Defendant.
 ___________________________________/

                                       MOTION TO DISMISS

        Defendant, CITY OF MIAMI, by and through undersigned counsel, pursuant to Federal

 Rule of Civil Procedure 12 and Southern District of Florida Local Rule 7.1, hereby files this

 Motion to Dismiss, and states:

                                          INTRODUCTION

        This is a purported civil rights action stemming from a motor vehicle collision. Plaintiff

 alleges two (2) unnumbered causes of action against the City of Miami: Negligence and Civil

 Rights Violation under 42 U.S.C. § 1983. The claim under 42 U.S.C. § 1983 must be dismissed

 because the allegations fail to state a cause of action.

                                    MEMORANDUM OF LAW

        This is an action brought by Milly Munoz, as personal representative of the Estate of

 Javier Munoz, deceased, on behalf of the Estate and Milly Munoz against the City of Miami for

 negligence and civil rights violation. Plaintiff claims that on November 9, 2015, a criminal
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 driving a motor vehicle struck her father who was riding a bicycle. Plaintiff’s father died from

 his injuries. Plaintiff asserts that the criminal was fleeing a high-speed pursuit by City of Miami

 police vehicles. Complaint, para. 5.


        Plaintiff has sued the City of Miami claiming specifically, inter alia, that the City of

 Miami “acted in a grossly reckless manner in the operation of the previously described vehicles,

 thereby demonstrating reckless disregard for the life of innocent people on the roadway at the

 time of the subject collision.” Complaint, para. 12.


        The Complaint fails to identify any specific Constitutional provision allegedly violated.

 The language “shocks the conscience”, however, is formulaically ascribed to claims for violation

 of Substantive Due Process under the Fourteenth Amendment to the United States Constitution.

 Complaint, para. 11; see e.g. Collins v. Harker Heights, 503 U.S. 115, 128, 129 (the cognizable

 level of executive abuse of power is that which shocks the conscience).


        The situation before this Court has been addressed by the United States Supreme Court.

 Cty. of Sacramento v. Lewis, 523 U.S. 833 (1998). In Lewis, the Supreme Court held that police

 officers do not violate substantive due process by causing death through deliberate or reckless

 indifference to life in a high-speed automobile chase aimed at apprehending a suspected

 offender. Id. at 836. “The issue in this case is whether a police officer violates the Fourteenth

 Amendment's guarantee of substantive due process by causing death through deliberate or

 reckless indifference to life in a high-speed automobile chase aimed at apprehending a suspected

 offender. We answer no… .”) Id. at. 836.




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                                         CONCLUSION


        Accordingly, Plaintiff’s unnumbered Civil Rights Violation Count must be dismissed

 with prejudice. This Court should then refuse to accept jurisdiction of the remaining state law

 Negligence claim and remand this matter to state court.


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 18th day of July, 2017, I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all counsel of record or pro se parties identified on the

 attached Service List in the manner specified, either via transmission of Notices of Electronic

 Filing generated by CM/ECF or in some other authorized manner for those counsel or parties

 who are not authorized to receive electronically Notices of Electronic Filing.


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                                              By: /s/ Henry J. Hunnefeld
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                                           SERVICE LIST
                                         1:16-cv-20501-FAM


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